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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


 IN THE MATTER OF THE COMPLAINT                           CIVIL ACTION
 OF GULF INLAND CONTRACTORS,
 INC.                                                     NO. 22-2453

                                                          SECTION: "J" (3)

                                ORDER AND REASONS

       Before the Court are two related motions. In the first (R. Doc. 158), Third-Party

Plaintiff Great American Insurance Company (“Great American”) asks the Court to

compel Third-Party Defendant Clear Spring Property and Casualty Company (“Clear

Spring”) to respond more fully to its subpoena duces tecum relative to reinsurance

agreements. In the second (R. Doc. 181), Clear Spring asks the Court to quash

deposition subpoenas and subpoenas duces tecum served on two non-party insurance

executives from whom Great American seeks similar information. 1 Both motions are

opposed. 2 Having carefully considered the parties’ briefing and the record of this

matter in the light of the applicable law, the Court will grant in part and deny in part

both motions (R. Docs. 158 & 181).

I.     Background

       Gulf Inland Contractors, Inc. (“Gulf Inland”) filed this action for limitation of

liability 3 after an alleged allision between its vessel and barge and the Bayou

Terrebonne Miter Gate Lock System, owned by the Terrebonne Parish Consolidated



1 See R. Docs. 158-1 at 8–10, 169-4–5.
2 See R. Docs. 171, 222, 231.
3 See 46 U.S.C. § 30501, et seq.


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Government. 4 The District Court approved the ad interim stipulation of value for the

vessel and barge in the amount of $730,000 and a Letter of Undertaking issued by

Gulf Inland’s insurer, Clear Spring. 5 As the subrogated property insurer of the

Terrebonne Parish Consolidated Government, Great American filed a claim and

answer in this action. 6 Great American also filed a third-party complaint against

Clear Spring and Clear Spring’s reinsurers under the Louisiana Direct Action

Statute, La. R.S. § 22:1269. 7 The discovery underlying the pending motions relates

to that third-party complaint.

       The District Court denied Clear Spring’s first motion 8 to dismiss the claims

against its reinsurers. 9 Great American moved to compel disclosure of Clear Insurer’s

reinsurance agreements and related documents. 10 Before that motion could be

addressed, however, Clear Spring filed a second motion to dismiss the claims against

its reinsurers, 11 a motion to stay discovery, 12 and the instant motion to quash. 13 The

District Court denied Clear Spring’s motion to dismiss and concluded there was no

good cause to stay discovery. 14 Accordingly, the Court turns to the pending motion to

compel and motion to quash.



4 R. Doc. 1.
5 R. Doc. 5.
6 R. Doc. 47.
7 R. Doc. 129.
8 R. Doc. 135.
9 R. Doc. 165.
10 R. Doc. 158.
11 R. Doc. 167.
12 R. Doc. 169.
13 R. Doc. 181.
14 R. Docs. 215, 216.


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II.      Discussion

         As explained by the District Court, the “determination of whether Great

American can name Clear Spring’s reinsurers pursuant to Louisiana’s Direct Action

Statute is dependent on whether Clear Spring’s reinsurance agreements with its

reinsurers are contracts of indemnity or contacts of liability.” 15 The District Court

held the redacted versions of the reinsurance agreements that Clear Spring provided

inadequate to answer this question. 16 It stated that Great American “put forth a

compelling argument” that the redacted agreements did not represent “the complete

structure of Clear Spring’s reinsurance.” 17 It specifically observed that Clear Spring

is possibly acting as a ‘fronting’ insurance company, under which it “may issue

policies on behalf of another company but retain limited or no actual risk.” 18 Thus,

the Court explained, there are “questions regarding the nature of Clear Spring’s role

and whether it is the true party responsible for the policies’ obligations” and that

Clear Spring’s redactions thus “leave[] the Court and Great American without a

complete understanding of the underlying risk allocation arrangement.” 19 “Without

such an understanding of the “full scope of the reinsurance structure and Clear




15 R. Doc. 216 at 5.
16 Id. at 6–7.
17 Id.
18 Id.
19 Id. at 7.


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Spring’s role” in it, the District Court declined to dismiss Great American’s claims

against Clear Spring’s reinsurers. 20

         Clear Spring’s sole argument in opposition to Great American’s Motion to

Compel is that the requests are overbroad as the information sought is irrelevant to

any claim or defense raised. 21 The District Court’s denial of Clear Spring’s second

motion to dismiss confirms that this information is relevant to claims remaining at

issue. Furthermore, in denying Clear Spring’s motion to stay discovery, the District

Court effectively rejected the argument that Great American’s requests are

overbroad, stating that “unlike the overboard production requests [in cases cited by

Clear Spring], Great American is seeking to determine whether Clear Spring’s

reinsurance agreements are contracts of indemnity or liability” and “has stated . . .

the specific documents it needs to be fully apprised of its claims against the

reinsurers.” 22 Great American’s Motion to Compel must thus be granted relative to

Great American’s properly supported requests for production.

         Turning to the Motion to Quash, Clear Spring asks the Court to quash

deposition subpoenas and subpoenas duces tecum 23 served on Jeffrey Schaff and

Joseph Marcantel, two non-party insurance executives associated with Talisman




20 Id.
21 R. Doc. 171.
22 R. Doc. 215 at 9.
23 R. Docs. 169-4–5.


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Casualty Insurance Company, LLC (“Talisman”), 24 one of Clear Spring’s reinsurers. 25

The subpoenas seek information about reinsurance agreements with Clear Spring. 26

         The District Court has emphasized that the deposition and document

subpoenas “are particularly relevant, as they may help establish whether Clear

Spring or the reinsurers are potentially liable or have a financial responsibility for

Great American’s claims.” 27 Relying in part on its “previous familiarity with both

Clear Spring and Talisman,” the District Court also rejected Clear Spring’s

arguments that the commercial sensitivity of the information and the burden on the

subpoena recipients constituted good cause for a stay of discovery. 28 The Court

concluded that Great American requires “a complete understanding” of “the complete

structure of Clear Spring’s reinsurance agreements” to identify the “true party

responsible for the policies’ obligations. 29 Under these “unique circumstances” Great

American’s subpoenas cannot not be quashed. 30

         Still, the District Court directed the undersigned to review the scope of Great

American’s requested discovery. 31 Federal Rule of Civil Procedure 26(b)(1) directs

that parties to litigation “may obtain discovery regarding any nonprivileged matter

that is relevant to any party's claim or defense and proportional to the needs of the




24 R. Doc. 215 at 5 n.4–5.
25 R. Doc. 181-2.
26 Id.
27 R. Doc. 215 at 9–10.
28 Id. at 2–3, 6–10 (quotation at 10).
29 R. Doc. 216 at 6–7.
30 R. Doc. 215 at 10
31 Id.


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case[.]” Great American has not shown that all of the subpoenas’ requests fit within

that scope.

      A. Subpoenas of Clear Spring

      Great American’s motion to compel addresses three categories of requests.

First, Great American asks Clear Spring to produce “underwriting files, claims files,

reinsurance files and all documents concerning” two marine insurance policies it

issued to Gulf Inland. 32 Clear Spring, however, points out these are fleet policies that

cover many more of Gulf Inland’s vessels than the two Great American alleges were

involved in the instant allision. 33 Great American has not explained how information

as to coverage of any uninvolved vessels is relevant. Clear Spring must produce all

documents relative to the policies generally and with reference to the allegedly

involved vessels, but it may omit documents concerning only coverage of uninvolved

vessels.

      Second, Great American asks Clear Spring to produce “all documents,

communication, electronic communications and e-mails, between Clear Spring

concerning the policies issued to Gulf Inland and” several individuals or corporate

entities. 34 The relevance of some of these individuals and entities is clear. But others

are unknown to the Court, and Great American has not explained their relevance.




32 R. Doc. 158-1 at 8.
33 R. Docs. 171 at 4–5, 171-2.
34 R. Doc. 158-1 at 9.


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Great American has thus not shown that all of the documents sought are within the

proper scope of discovery.

      Clear Spring must produce, however, all documents and communications

concerning the marine insurance policies at issue between Clear Spring and (1)

Talisman Casualty Insurance Company, LLC, or any other Talisman entity or

affiliate; (2) Jeffrey J. Schaff; (3) Joseph Marcantel; (4) Gulf/Inland Contractors, Inc.;

and (5) Gulf Inland Contractors, Inc., but Clear Spring need not respond as to the

remaining listed parties. The partial limitation of this request is without prejudice to

Great American’s right to reurge it with the proper support, if desired.

      Third, Great American asks Clear Spring to produce:

      r. Any Managing General Agent Agreement between Clear Spring and
         any Talisman entity that was in place when The Policies were issued
         to Gulf/Inland Contractors Inc and/or Gulf Inland Contractors, Inc.

      s. Any document or communication containing the full name, address,
         syndicate number (if applicable), and percentage responsibility of all
         insurers and reinsurers for Marine Insurance Package Policy
         CSGICI2021110008-0010 with a policy term of 12:01 AM on 11/1/21
         to 1201 AM on 11/1/22 and Marine Insurance Umbrella Policy
         CSGICI2021110011 with a policy term of 12:01 AM on 11/1/21 to
         12:01 AM on 11/1/22 (“The Policies”).

      t. All documents indicating the insurance and reinsurance for the
         claims against Gulf Inland in the litigations styled, “In re Gulf Inland
         Contractors, Inc., as owner and operator of the M/V BIG HORN &




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          BARGE CHELSEA A,” pending in the USDC EDLa, C/A No. 22-
          02453.

      u. All claim and underwriting files and all reinsurance files, documents
         and information concerning all insurance for Gulf Inland for the
         period of 12:01 AM on 11/1/21 to 12:01 AM on 11/1/22. 35

The Court has already rejected Great American’s claim that it is entitled to discovery

about all insurance coverage maintained by Gulf Island during the relevant time

here. The remaining requests are not overbroad and fall within the scope of this case

as explained by the District Court. Clear Spring must produce responses to requests

r., s., and t. above, but it need not respond to request u.

      B. Third-Party Subpoenas

      Great American seeks to depose Talisman-related insurance executives Schaff

and Marcantel and asks them to produce several categories of documents relative to

their and Talisman’s connection to Clear Spring and the insuring or reinsuring of

Gulf Inland. 36 Requests 1, 3, o., p., and q. mirror Great American’s subpoenas of Clear

Spring and responses thereto must be produced subject to the same limitations as to

Clear Spring laid out above. Great American’s remaining requests for document

production from Schaff and Mercantel are vague and overbroad, and Clear Spring

does not explain their relevance to any claim or defense. The Court will therefore

deny them at this time, without prejudice to Great American’s right to reassert those

requests with the proper support. Given the amount of discovery compelled in this

order and in the interest of ensuring that depositions proceed efficiently, the Court



35 R. Doc. 158-1 at 10.
36 R. Docs. 169-4–5.


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will continue without date Great American’s deposition subpoenas of Schaff and

Marcentel, to be reset later should Great American show a continuing need therefor

after review of the document production.

III.     Conclusion

         Accordingly, for these reasons,

         IT IS ORDERED that Great American’s Motion to Compel (R. Doc. 158) is

GRANTED IN PART and DENIED IN PART as set forth above and that Clear

Spring must produce to Great American the ordered discovery no later than January

3, 2024.

         IT IS FURTHER ORDERED Clear Spring’s Motion to Quash (R. Doc. 181)

is GRANTED IN PART and DENIED IN PART as set forth above.

         New Orleans, Louisiana, this 19th day of December, 2024.




                                                    EVA J. DOSSIER
                                           UNITED STATES MAGISTRATE JUDGE




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